1:24-cv-11054

Judge LaShonda A. Hunt

Magistrate Judge Keri L. Holleb Hotaling
RANDOM CAT 3

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ILLINOIS

RECEIVED

MAKEISHA WILLIAMS-THOMPSON, Defendant,

Vv.
STATE OF ILLINOIS /Meredith Rudolfi , Plaintiffs, MW OCT 28 204
Case No. 24CFR0509201 THOMAS G. BRUTON

G.
CLERK, U.S. DISTRICT COURT

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF ILLINOIS :

Defendant, Makeisha Williams-Thompson, hereby files this Notice of Removal pursuant to 28
U.S.C. § 1441, and states as follows:

1.**Grounds for Removal:** This action is removed to this Court based on constitutional
violations by the CIRCUIT COURT OF COOK COUNTY, ILLINOIS, specifically regarding
Personal Jurisdiction. A State has no personal jurisdiction over itself if it's a party in the cause.

-**Grounds for Removal:** According to the U.S. Constitution Article 3 Section 2. In all cases
affecting ambassadors, other public ministers and consuls, and those in which a state shall be a
party, the Supreme Court shall have original jurisdiction.

2. “Constitutional Violations:** The denial of discovery violates multiple constitutional
provisions, including but not limited to:

- “Equal Protection Clause of the Fourteenth Amendment:** The actions of the court and the
Chicago Police Department demonstrate a discriminatory intent and effect, treating the
Defendant differently from other similarly situated individuals without a legitimate governmental
interest. This principle is upheld in *Opinion of the Justices, 137 N.H. 260*, where the court
highlighted the necessity of equal protection under the law. Furthermore, “Village of Willowbrook
v. Olech, 528 U.S. 562 (2000)*, supports claims of equal protection violations based on
differential treatment.

- “*Fourth Amendment Rights:** The unauthorized editing and tampering with evidence by the
Chicago Police Department amount to an unreasonable search and seizure, infringing upon the
Defendant's right to be secure in their persons, houses, papers, and effects. This is consistent
with the protections outlined in “Opinion of the Justices, 137 N.H. 260*. The case *Mapp v. Ohio,
367 U.S. 643 (1961)*, further supports the exclusion of unlawfully obtained evidence.

3. “Bivens Claim:** Defendant includes a Bivens claim against the aforementioned parties for
the constitutional violations described herein, seeking to file a tort in federal court. The tort
includes claims for damages resulting from the denial of due process, equal protection
violations, infringement of First Amendment rights. and unreasonable search and seizure, which

have caused significant harm to the Defendant. This is supported by the case *Broc T.
Waltermeyer v. FCi*, where the court recognized the applicability of Bivens claims in New
Hampshire. Additionally, *Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971)’*,
established the precedent for Bivens claims.

4. **Judge's Oath of Office:** The oath of office of Judge Steven G. Watkins does not conform to
4U.S.C. § 101. According to 4 U.S.C. § 101, every judicial officer of a State must take an oath
to support the Constitution of the United States. The inclusion of a religious testimony in his oath
of office suggests that Judge WATKINS may be acting as a foreign agent, which requires
registration under the Foreign Agents Registration Act (FARA). This is supported by the
Department of Justice's findings that public officials acting as agents of foreign principals must
register under FARA. Failure to do so constitutes a violation of federal law and undermines the
integrity of the judicial process.

5. **Proof of Contract or Paycheck Stubs:** Defendant requests proof of contract or paycheck
stubs that compel performance under the statute. This is supported by the case *State v.
Leeann O'Brien*, where the court discussed the necessity of proper documentation and
evidence in enforcing statutory requirements.

6. **Clearfield Doctrine:** The Clearfield Doctrine, established in *Clearfield Trust Co. v. United
States*, 318 U.S. 363 (1943), asserts that when the United States engages in commercial
transactions, such as issuing checks, it is governed by federal common law rather than state
law. When private commercial paper is used by the government, it loses its sovereignty status
and becomes no different than a mere private corporation. This means that the government, like
any private corporation, must be the holder-in-due-course of a contract or other commercial
agreement to compel performance. The CIRCUIT COURT OF COOK COUNTY, ILLINOIS
reliance on checks, credit card transactions, and the receiving and paying out of commercial
paper necessitates the application of federal law. This supports the argument for federal
jurisdiction and the removal of this case to federal court.

7. **Cruden v. Neale:** The principle from *Cruden v. Neale, 2 N.C. 338 (1796), states that men
are exempt from all laws except those prescribed by nature. This principle supports the
argument that the Defendant, as a living woman, is not bound by statutory laws without his
consent. Furthermore, the assertion that the Defendant is operating commercially when he is
not participating in commercial activities violates 15 U.S.C. § 1692e(7), which prohibits false
representations or implications that the consumer committed any crime or other conduct to
disgrace the consumer.

8. **Sherar v. Cullen:** The case *Sherar v. Cullen, 481 F.2d 945 (9th Cir. 1973)*, supports the
argument that an individual cannot be sanctioned or penalized for exercising constitutional
rights. In this case, the court held that dismissal from government service, based solely upon a
refusal to submit to an allegedly unwarranted and unreasonable audit request, constituted a
penalty wrongfully imposed upon the exercise of Fourth Amendment rights.

9. **Thompson v. Smith:** The principle of the case Thompson v. Smith revolves around the
right to travel and the exercise of police power by the state. In this 1930 case, the court held
that the right to travel on public highways is a common law right, not merely a privilege that can

eS OE | |
be granted or revoked at will by the city. In further support of this *Kent v. Dulles, 357 U.S. 116
(1958)" the *Supreme Court ruling 357 U. S. 117-130 (a)* The right to travel is a part of the
liberty” of which a citizen cannot be deprived without due process of law under the Fifth
Amendment. The Supreme Court has over the years defined the right to travel (or the freedom
of movement) as one of the “unenumerated rights” of the Constitution. This is supported by the
Ninth Amendment of the US Constitution. The Chicago Police Department policies or practices
that hinder this right may be legally actionable.

10. “Color of Law Violations:** The actions of the Chicago Police Department and the
CIRCUIT COURT OF COOK COUNTY, ILLINOIS constitute violations under color of
law. Under 18 U.S.C. § 242, it is a crime for any person acting under color of law to
willfully deprive or conspire to deprive another person of any right protected by the
Constitution or laws of the United States. This statute has been upheld in numerous
cases, including “United States v. Price, 383 U.S. 787 (1966)’, where the Supreme
Court held that private individuals acting in concert with state officials can be
prosecuted under this statute. Additionally, in *United States v. Causey, 185 F.3d 407
(5th Cir. 1999)", the court affirmed convictions for conspiracy against civil rights and
deprivation of rights under color of law.

11. **RICO Charges:** The Plaintiffs, including the CIRCUIT COURT OF COOK COUNTY.
ILLINOIS, Judge Steven G Watkins, and the Chicago Police Department, have engaged ina
pattern of racketeering activity as defined under the Racketeer Influenced and Corrupt
Organizations Act (RICO), 18 U.S.C. §§ 1961-1968. The actions of the Plaintiffs constitute
multiple predicate acts of racketeering, including but not limited to:

- **Mail and Wire Fraud (18 U.S.C. §§ 1341, 1343):** The Plaintiffs have used mail and
electronic communications to further their scheme to deprive the Defendant of his constitutional
rights.

- **Obstruction of Justice (18 U.S.C. § 1503):** The Plaintiffs have engaged in activities
designed to obstruct the due administration of justice, including tampering with evidence and
denying the Defendant's right to a fair trial.

- “Extortion (18 U.S.C. § 1951):** The Plaintiffs have used their positions of authority to
extort compliance from the Defendant under threat of legal penalties and sanctions.

These actions form a pattern of racketeering activity that has caused significant harm to the
Defendant and justify the imposition of RICO charges against the Plaintiffs. The case *Sedima,
S.P.R.L. v. Imrex Co., 473 U.S. 479 (1985)*, supports the application of RICO in cases where a
pattern of racketeering activity has caused injury to the plaintiffs business or property.

12. **Lack of Delegation of Authority:** The Plaintiffs have acted without proper delegation of
authority, rendering their actions ultra vires and void. The principle of non-delegation requires
that any delegation of authority must be explicit and within the bounds of the law. The case

*J.W. Hampton, Jr., & Co. v. United States, 276 U.S. 394 (1928)*, supports the requirement that
any delegation of legislative authority must be accompanied by clear standards and guidelines.
The actions of the Plaintiffs, lacking proper delegation, are therefore invalid and unenforceable.

14. **Writ of A Fortiori:** Given the extensive and egregious constitutional violations, Supreme
Court rulings, and Illinois case law, a writ of a fortiori is not only warranted but imperative. This
writ asserts that if the constitutional violations and legal principles are applicable in less severe
circumstances, they are even more compelling and urgent in the present case. The cumulative
effect of the due process violations, equal protection violations, First and Fourth Amendment
infringements, the improper reliance on commercial paper under the Clearfield Doctrine, the
lack of delegation of authority, and the principles from *Cruden v. Neale*, *Sherar v. Cullen*, and
“Thompson v. Smith* unequivocally support the Defendant's claims.

Furthermore, the Plaintiffs’ actions violate 15 U.S.C. § 1692e(7), which prohibits false
representations or implications that the consumer committed any crime or other conduct to
disgrace the consumer. This statute has been upheld in numerous cases, including:

- “Jeter v. Credit Bureau, Inc., 760 F.2d 1168 (11th Cir. 1985):** The court held that false
representations or implications that a consumer committed a crime to disgrace them are
prohibited under the Fair Debt Collection Practices Act (FDCPA).

- *Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055 (9th Cir. 2011):** The court emphasized
that any false, deceptive, or misleading representation in connection with the collection of any
debt is a viclation of the FDCPA, including false implications of criminal conduct.

- **McMillan v. Collection Professionals Inc., 455 F.3d 754 (7th Cir. 2006):** The court
reinforced that debt collectors must avoid any false representation or implication that the
consumer committed any crime or other conduct to disgrace the consumer.

The gravity and multitude of these violations necessitate immediate federal intervention to
uphold the rule of law and protect the Defendant's constitutional rights. The Defendant's case
exemplifies a profound miscarriage of justice that demands rectification through federal
jurisdiction.

15. **Prayer for Relief and Damages:** The Defendant respectfully requests that this Court
grant the following relief:

- A declaration that the actions of the Plaintiffs violated the Defendant's constitutional rights
under the First, Fourth, Fifth, Ninth, and Fourteenth Amendments.

- An injunction preventing the Plaintiffs from continuing their unconstitutional practices.

- Compensatory damages for the emotional distress, reputational harm, and financial losses
suffered by the Defendant as a result of the Plaintiffs’ actions.

- Punitive damages to deter the Plaintiffs and others from engaging in similar conduct in the
future.
- Attorney's fees and costs incurred in bringing this action
- Any other relief that the Court deems just and proper.

16. **Venue:** Venue is proper in the United States District Court for the District of Illinois

pursuant to 28 U.S.C. § 1391(b) as the events giving rise to the claims occurred in this district,

and the Defendants are subject to personal jurisdiction in this district.
“*Contact Information for Defendant:**

Makeisha Williams-Thompson
General Delivery

Berwyn, Illinois [60402]

Phone: 773-655-8395

Email: mkshwilliams@yahoo.com
Pro Se

Respectfully submitted, j
UY naling +ulhiand Shenpoen

Defendant

[2 SRR I a a ADE SS PA TET ON DE fT NE AE TN OE REA Hal]
Ylicd OLIN CO oD ol

(Court Branch # or District #) (Court Date/Time) (Asresting Agency #)
Misdemeanor Complaint (10/27/22) CCCR 0654
" IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
The People of the State of Illinois

% Case No. BUWOSip Ho!

Makeisha P. Williams-Thompson

Defendant
MISDEMEANOR COMPLAINT
STATE OF ILLINOIS / P.O. Rodriguez , complainant, now appears before the
(Complainant’s Name Printed or Typed) .
Circuit Court of Cook County and states that Makeisha P. Williams-Thompson of
(Defendand
3820 W Van Buren, Apt 3, Chicago, IL, 60624, County of Cook bas on or about 4/24/2024
(Address) ‘ (are)
at the location of 850 S Homan Ave, Chicago, IL, 60624, County of Cook
. (Pisce of Offense)

committed the offense(s) of DISPLAY OF A FALSE REGISTRATION PLATE

in that th

IN THAT SHE KNOWINGLY DISPLAYED A FALSE IL REGISTRATION PLATE WITHIN OR ON THE REAR OF A VEHICLE, A
2019 TOYOTA CAMRY. TO WIT: AMERICAN NATIONAL PLATE # MYLUV4U, WHICH WAS ILEGALLY REGISTERED. IL
PLATE# BH92982 SHOULD BE ON A 2019 TOYOTA CAMRY VIN# 4T1BZ.1FB2KU020044

in violation of 625 _ ILCS 5.0 j__4104-A-4
(Chapter) (Act) (ub Secdon)’

PAI 95, S30
AOIC Code JH" FF L E D CH Corsplainant’s &

3151 W. HARRISOMST:"”

AP. R Le 5 on n (Complainant's Address)
IRTs ve WORK #
oe Cor nunorsyi decltaRr INEZ (Complainane’s Phone)
STATE OF ILLINOIS / P.O. Rodriguez
(Complainant's Name Printed or ‘Typed)

The Complainant, being first duly sworn, hereby states that they read and signed the foregoing

complaint and that the same is true.
$f S Fux

(s2omplainan’s Signature)
Subscribed and sworn to before me on _4/24/2024 |
[MARTINEZ / oe # 18s
(udge’s/Law Enforcement Officer’s Signature) (Law Enforcement Officer's Badge Na)

I have examined the above complaint, the person presenting it, and find there is probable cause.
Leave is hereby given to file said complaint.

Judge

SUMMONS ISSUED Judge's No.

WARRANT ISSUED

Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois

cookcountyclerkofcourt.org
Page 1 of 1

Wu-2 MAY to} 9:00am = crD- 011
(Court Branch # ar District #) (Court Date/Time) (Arresting Agency #)
Misdemeanor Complaint ,_ (03/18/15) CCCR N654

IN THE CIRCUIT COURT OF cook COUNTY, ILLINOIS

The People of State of Hinois
v. c 7)
no_O4 Dold TsO —__
MAMEISHA P. WILLIAMS-THOMPSON __.
MISDEMEANOR COMPLAINT
STATE OF ILLINOIS / P.O. RODRIGUEZ #8364 , complainant, now before the _
(Complainant’s Name Printed or Typed) .

Circuit Court of Cook County and states the following:
That: MAMBISHA P, WILLIAMS-THOMPSON of 3820 W. VAN GUREN ST., CHICAGO.L 60824 has, on or about

(Defendant) . (Address)

Apr 24, 2024 , at the location of $00 S, HOMAN AVE.
(Dare) ° (Place of Offense)

committed the offense(s) of. THEFT - DECEPTION - INTENT <$500 .

IN THAT HE/SHE KNOWINGLY EXERTED / OBTAINED UNAUTHORIZED CONTROL OVER PROPERTY
OF A LINK CARD HAVING A TOTAL VALUE OF UNDER $500.00, INTENDING TO DEPRIVE THE STATE
OF ILLINOIS AND CITIZENS PERMANENTLY OF THE USE/BENEFIT OF THE PROPERTY

in violation of 720 ____ Binois Compiled Statutes 50 f___ 1841

(Chapter) (Ac (Sub Section)

AOIC Code BILE Bp 3151 W HARRISON ST
° (Complainant's Address
APR 25 etch - WORK#
. (Complainant’s Telephone}

STATE OF ILLINOIS Bi 2 Y, oF s MARTINEZ STATE OF ILLINOIS / P.O. RODRIGUEZ #8384
COOK COUNTY (Complainant's Name Printed or Typed)

. The Complainant being first duly sworn on oath, deposes and $2 a hat s/he read the foregoing complaint by him/her subscribed and that
the same is true. Ea

aD? 's Signammre)
Subscribed and sworn to before me i 24
L MARTINEZ / .

* {78S \
(adge’s/Law Enforcement Officer’s Signature) (Law Enforcement Officer's Badge No.)

shave examined the above comaplsnt and the pesson pessentng the same and have heard evidence theseon, and am sisted that these i
probable cause for Sling same, Leave is piven to Gile said complaint.

SUMMONS ISSUED, Judge
or Judge's No.
WARRANT ISSUED, * Bail set at:
, or
BAIL SET AT: Judge
, Judge’s No.

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, TLLINGIS
Poge t of 1

reo

44-2 —— _— May 1, 2024 9:00 am CPD - 011
(Court Branch) (Coure Date)

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

The People of the Scare of Illinois Ne. | \| DD 0 9 0 |

Makiesha Williams-Thompson ae
Defendane
FELONY COMPLAINT
eee State of Nip ols / LPOLR odriguez #8364 _ complainant, now appears before
(Complainant's Name Printed or Typed)

The Circuit Court of Cook County and states that

— Makiesha Williams-Thompson 3820 W. Van Buren St. Chicago, fl. 60624 a=... chay on of about

Apr 24, 2024 DAI? 850 S. Homan Ave Chicago, IL 60624 County of Cock

commited d the offense of POSS TITLEIREGISTRATION ST OLEN / ALTERED _in that she

KNOWINGLY DISPLAYED A FALSE AMERICAN NATIONAL REGISTRATION PLATE WITHIN OR ON
THE PEAR OF A VEHICLE, A 2019 TOYOTA CAMRY. TO WIT: THE AMERICAN NATIONAL
REGISTRATION PLATE #MYLUV4U WAS NOT LEGALLY REGISTERED TO A VEHICLE HOWEVER
AFFIXED TO A VEHICLE WITH VIN# 4T1BZ1FB2KU020044.

in violation of . _. 825 ILCS _-... 50 OAS
(Coapre) (Act) Bub Sectian)
2 (Compal s Si —
AGIC Gade eee 7824 _ WORK# '
(Coraplaicune's Address) (Telephone Ne.)

COOK COUNTY : "(Complainant's Name Peinaed or Typed)

etme Rodriguez #8364 ont oath, deposes and says thar s/be read che foregoing complaint
his/her subscri ¢ same is true.

(Complainane’s Signature}
Subscribed and sworn to before me. 24 oo Apr 2024
— © Badge oe

I have examined the above complaint and the person presenting the same and have heard evidenoz thereon, and am satisfied thar there is
probable cause for filing same. Leave is given to file said complaine.

Summons Issued, Judge asses ee _-

or Judge's No.
Warrant Issued, Bail sec at, . _ _. . _ .

or

Bail set at = $$ Judge : ence

oo
Judge's No.

TRIS Y. MARTINEZ, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Page 1 of 1

hi may Dl2024 9:00am © CPD- 011
(Coust Branch # or Disteict #) (Court Date/Time) (Arresting Ageacy #)

Nee N seemed aL LC

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
The People of State of Iiinois

. wo _QUINLOSIg) BO!

MAKEISHA P. WILLIAMS THOMPSON
Defendant

MISDEMEANOR COMPLAINT
STATE OF ILLINOIS / P.O. RODRIGUEZ #6364 , complainant, now appesrs before the

(Complainant’s Name Printed or Typed)
Circuit Court of Cook County and states the following:
That: MAKEISHA P. WILLIAMS THOMPSON of 9820 W VAN BUREN ST. CHICAGO IL. 60624 has, on or about

(Address)
Apr 24, 2024 | at the location of 800 S. HONAN AVE.

(Date) (Place of Offensé)
committed the offense(s) of RESIST / OBSTRUCT A PEACE OFFICER / CORRECTIONAL EMPLOYEE

IN THAT HE/SHE KNOWINGLY RESISTED THE PERFORMANCE OF AN AUTHORIZED ACT WITHIN THE OFFICER'S
OFFICIAL CAPACITY AND ENGAGEMENT IN THE EXECUTION OF HIS/HER OFFICIAL DUTIES, IN THAT WHILE KNOWN TO
THE DEFENDANT TO BE A PEACE OFFICER, OFFENDER REFUSED TO EXIT SAID VEHICLE AFTER PEACE OFFICER
REQUESTED ON SEVERAL OCCASSIONS IN AN ATTEMPT TO DEFEAT AN ARREST FOR A VIOLATION OF 720 ILCS.

in violation of : 625 IWinois Compiled Statutes 50 / 6-301A-4
(Chapter) (ub Section)
CA 4 2 Bb
AOIC Code . 3151 W. HARRISON ST
APR 2 5 782 . (Complainant's Address)
IRIS ¥ i WORK® er
CLERK de cineB TUES, (Complainant's )
STATE OF ILLINOIS STATE OF ILLING!S / P.O. RODRIGUEZ £8364
COOK COUNTY (Complaiaant’s Name Printed or Typed)

“The Complainant being ist duly sworn on oath, deposes and says that s/he cead the foregoing complaint by him/her subscribed, and that

the same is true.
(Complainant’s
Subsexibed and swom to 26 day of APRIL

before me on this ; 2024
L MARTINEZ Le . s U7&s |
Qndge’s/Law Enfoscement Officer's Signature) (Law Enfarcement Officer’s Badge No.)
I have examined the above complaint and the person presenting the same and have heard evidence thereon, and am satisfied that there is
probable cause for filing same. Leave is given to file said complaint

SUMMONS ISSUED, Judge
or Judge’s No.
WARRANT ISSUED, Bail set ac
or
BAIL SET AT: Judge .
Judge’s No.

DOROTHY BROWN, CLERK OF THE CIRCUIT CCURT OF COOK COUNTY, ILLINOIS
Page 1 of 1

